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          Exhibit D-7
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

   SUSAN BYRNE,                              :
     Plaintiff                               :      Civil Action No.
                                             :
   vs.                                       :      3:17-cv-01104-VLB
                                             :
   YALE UNIVERSITY                           :
     Defendant                               :      DECEMBER *, 2019
                                             :

                               PROPOSED VERDICT FORM

             We the jury, unanimously answer the questions submitted to us as follows:

CONNECTICUT FAIR EMPLOYMENT PRACTICES ACT: RETALIATION


QUESTION NO. 1: Has Plaintiff established by a preponderance of the evidence that she
engaged in protected activity under CFEPA, and if so, that Yale University was aware of
her doing so at the time it made the decision in dispute in this case (i.e., the decision to
deny Plaintiff tenure)?

Yes________               No________

If you answered Yes, proceed to Question No. 2. If you answered No, conclude your
deliberations and enter a finding for Defendant as to this claim.


QUESTION NO. 2: Has Plaintiff established by a preponderance of the evidence that Yale
University would not have taken the adverse employment action but for Plaintiff’s alleged
protected activity?

Yes________               No________

If you answered Yes, conclude your deliberations and enter a finding for Plaintiff as to this
claim. If you answered No, conclude your deliberations and enter a finding for Defendant
as to this claim.


                                PLAINTIFF’S OBJECTIONS

 Plaintiff objects to Question No. 1 and its inclusion of compound questions. See Lore v.
 City of Syracuse, 670 F.3d 127, 160 (2d Cir. 2012) ("the posing of compound questions is
 inappropriate because it normally will cause the jury's answers to be ambiguous").
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 Plaintiff objects to Question No. 2 as it states the incorrect legal standard for a CFEPA
 retaliation claim. See Vogel v. CA, Inc., 2015 U.S. Dist. LEXIS 157068, at *9 (D. Conn. Nov.
 20, 2015) (internal citations removed) (“[t]he Connecticut Supreme Court has not been
 determined whether Nassar affects the causation standard of claims under the CFEPA,
 and federal courts in this district have not agreed upon a resolution of their own … This
 Court, however, has held that it will apply the lower standard applicable under
 Connecticut law prior to Nassar.”). See generally Plaintiff’s Proposed Jury Instructions.

 Plaintiff objects to the CFEPA instructions to the extent they do not include
 apportionment of damages.




TITLE VII: RETALIATION


QUESTION NO. 1: Has Plaintiff established by a preponderance of the evidence that she
engaged in protected activity under Title VII, and if so, that Yale was aware of her doing so
at the time it made the decision in dispute in this case (i.e., the decision to deny Plaintiff
tenure)?

Yes________               No________

If you answered Yes, proceed to Question No. 2. If you answered No, conclude your
deliberations and enter a finding for Defendant as to this claim.


QUESTION NO. 2: Has Plaintiff established by a preponderance of the evidence that Yale
University would not have taken the adverse employment action but for Plaintiff’s alleged
protected activity?

Yes________               No________

If you answered Yes, conclude your deliberations and enter a finding for Plaintiff as to this
claim. If you answered No, conclude your deliberations and enter a finding for Defendant
as to this claim.


                                PLAINTIFF’S OBJECTIONS

 Plaintiff objects to Question No. 1 and its inclusion of compound questions. See Lore v.
 City of Syracuse, 670 F.3d 127, 160 (2d Cir. 2012) ("the posing of compound questions is
 inappropriate because it normally will cause the jury's answers to be ambiguous").

 Plaintiff objects to the Title VII instructions to the extent they do not include
 apportionment of damages.
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NEGLIGENT MISREPRESENTATION

QUESTION NO. 1: Has Plaintiff established by a preponderance of the evidence that
Defendant made a statement or statements of fact (not opinion) that were false?

Yes________               No________

If you answered Yes, proceed to Question No. 2. If you answered No, conclude your
deliberations and entering a finding for Defendant as to this claim.


QUESTION NO. 2: Has Plaintiff established by a preponderance of the evidence Defendant
knew or should have known that the statements were false at the time they were made?

Yes________               No________

If you answered Yes, proceed to Question No. 3. If you answered No, conclude your
deliberations and entering a finding for Defendants as to this claim.


QUESTION NO. 3: Has Plaintiff established by a preponderance of the evidence that she
relied upon the false statements to her detriment?

Yes________               No________

If you answered Yes, proceed to Question No. 4. If you answered No, conclude your
deliberations and entering a finding for Defendants as to this claim.


QUESTION NO. 4: Has Plaintiff established by a preponderance of the evidence that her
reliance upon any false statements was reasonable in light of all the evidence presented
at trial?

Yes________               No________

If you answered Yes, conclude your deliberations and enter a finding for Plaintiff as to this
claim. If you answered No, conclude your deliberations and enter a finding for Defendant
as to this claim.


                                PLAINTIFF’S OBJECTIONS

 Plaintiff objects to the instructions to the extent they misstate the required elements for
 a Negligent Misrepresentation claim. Plaintiff objects to the inclusion of the phrase
 "not opinion" in Question 1. Plaintiff also objects to the inclusion of the phrase "at the
 time they were made" in Question 2 - there is no requirement that Defendant knew at
 the time of making the statements that they were false. See Nazami v. Patrons Mutual
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Ins. Co., 280 Conn. 619, 626 (2006). Plaintiff also objects to the instruction for Question
No. 3 that Plaintiff must establish that "she relied upon the false statements to her
detriment" - the appropriate standard is whether plaintiff reasonably relied on the
misrepresentation. See Id. Plaintiff further objects to the instruction for Question No. 4
as the instruction is incorrect - the last element to establish a negligent
misrepresentation claim is whether the plaintiff suffered pecuniary harm as a result of
the misrepresentation. See Id. See also Sturm v. Harb Development, LLC, 298 Conn.
124, 143-44 (2010).

Plaintiff objects to the instructions to the extent they do not include apportionment of
damages.



BREACH OF CONTRACT

QUESTION NO. 1:      Has Plaintiff established by a preponderance of the evidence that
she had a contract with Defendant?

Yes________               No________

If you answered Yes, proceed to Question No. 2. If you answered No, conclude your
deliberations and entering a finding for Defendants as to this claim.


QUESTION NO. 2: Has Plaintiff established that Defendant Yale University breached a
material term of that contract?

Yes________               No________

If you answered Yes, proceed to Question No. 3. If you answered No, conclude your
deliberations and entering a finding for Defendants as to this claim.


QUESTION NO. 3: Has Plaintiff established that she suffered damages as a direct result
of Defendant’s alleged breach, and that such damages are not speculative but rather
objectively ascertainable?

Yes________               No________

If you answered Yes, conclude your deliberations and enter a finding for Plaintiff as to
this claim. If you answered No, conclude your deliberations and enter a finding for
Defendant as to this claim.

                               PLAINTIFF’S OBJECTIONS

Plaintiff objects to Question No. 2 as it instructs the jury on an inaccurate standard.
According to Connecticut Judicial Branch's Jury Instructions, the second element of a
breach of contract claim is simply whether "the defendant failed to perform[its]
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 obligations under the agreement." Connecticut Jury Instructions 4.1-15 Breach of
 Contract. Plaintiff objects to Question No. 3 as it also states an incorrect standard.
 The third element of a breach of contract claim is whether plaintiff sustained damages.
 Id. Furthermore, Plaintiff objects to Question No. 3 and its inclusion of compound
 questions. See Lore v. City of Syracuse, 670 F.3d 127, 160 (2d Cir. 2012) ("the posing of
 compound questions is inappropriate because it normally will cause the jury's answers
 to be ambiguous").



Have the foreperson sign and date this verdict form.



Signed: ____________________________________
                 Foreperson

Dated: ____________________________________
                    Date


                                PLAINTIFF’S OBJECTIONS

 Plaintiff objects to the utter lack of inclusion of questions regarding damages. Plaintiff
 has claimed economic damages, noneconomic compensatory damages, punitive
 damages and interest. See Plaintiff's Proposed Jury Instructions.
